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                           UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Western District of Washington
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court
U.S. District Court case number:                 2:23-cv-01498
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 09/26/2023

Date of judgment or order you are appealing:                       11/08/2024

Docket entry number of judgment or order you are appealing:                                 142, 143
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes       ●   No       ●   IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
Patricia Nilsen, Anna Sandi, Avery Snyder, Carrie Ford, Christen Rhodes, Crystal Gibson, Diane Jansen, Erin Bolas,
Glena Felker, Gloria Torres, Jessica Lopez, Jovy Legaspi, Kathleen Pokorny, Katherine Galanga, Kristi Hughes,
Lynnette Mathias, Maile Sivakanthan, Melissa Earl-Patopea, Michelle Sizer, Petra Bigea, Shannon Slish, Susan
Groller.



Is this a cross-appeal?         ●   Yes           No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                   ●   Yes           No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                           State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature        s/ Nathan J. Arnold                                      Date 12/03/2024
     Complete and file with the attached representation statement in the U.S. District Court
                      Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                              Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Patricia Nilsen, Anna Sandi, Avery Snyder, Carrie Ford, Christen Rhodes, Crystal
Gibson, Diane Jansen, Erin Bolas, Glena Felker, Gloria Torres, Jessica Lopez,
Jovy Legaspi, Kathleen Pokorny, Katherine Galanga, Kristi Hughes,
Name(s) of counsel (if any):
Nathan J. Arnold, WSBA No. 45356 (Arnold Jacobowitz & Alvarado PLLC)



Address: 720 Seneca St., Ste. 107, No. 393
Telephone number(s): 206-799-4221
Email(s): nathan@ajalawyers.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        ●   No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
University of Washington, a governmental agency, Jennifer Petritz, an individual,
Kristi Aravena, an individual, Kathy Schell, an individual.

Name(s) of counsel (if any):
Timothy O'Connell, WSBA No. 15372 (Stoel Rives LLP)
Jacqueline Middleton, WSBA No. 52636 (Stoel Rives LLP)


Address: 600 University Street, Suite 3600, Seattle, WA 98101
Telephone number(s): 206-624-0900
Email(s): tim.oconnell@stoel.com; jacqueline.middleton@stoel.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                          New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:
Lynnette Mathias, Maile Sivakanthan, Melissa Earl-Patopea, Michelle Sizer, Petra
Bigea, Shannon Slish, Susan Groller.
Name(s) of counsel (if any):
Dennis McGlothin, WSBA No. 28177 (Western Washington Law Group, PLLC)


Address: 10485 NE 6th Street, #28177, Bellevue, WA 98004
Telephone number(s): 425-728-7296
Email(s): docs@westwalaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes    ●   No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                          New 12/01/2018
